¶ 52 This writer concurs with the majority in its treatment of the first, second, and fourth assignments. I also agree with the majority's conclusion with respect to the third assignment dealing with photographs of the genitals of the prosecutrix because of the unique facts of this case. Based on the record here, it is clear that the admission of these graphics did not rise to the crest of plain error. Further, the conclusion that the admission of these items was not reversible error should not be viewed as an opening of the floodgates for the admission of such filmed portrayals. In my view, the decision to admit those exhibits was extremely close to the pale of reversible error. More often than naught, such items are better treated by way of precise and candid descriptive testimony. Such specific testimony will not leave much to the imagination of the jury, and will avoid unnecessary prejudice.